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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                             CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
                                                   SECTION “K” (2)
PERTAINST TO: 06-8931 (Stephen E. Campbell and Jennie Campbell)
            and 06-8934 (Stephen E. Campbell and Jennie Campbell)
**************************************************************************


                     MOTION FOR ENTRY OF FINAL JUDGMENT



       NOW INTO COURT, through undersigned counsel comes Stone Insurance, Inc.,

defendant, who moves this Court pursuant to F.R.C.P. Rules 59 and 60, to enter final judgment

in accordance with the attached Judgment/ORDER, pursuant to 28 U.S.C. 1291, or alternatively,

F.R.C.P. Rule 54.

       WHEREFORE, Stone Insurance, Inc. prays for entry of final judgment from this

Court’s ruling entered January 29, 2007.
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                                                                        Respectfully submitted:
                 CERTIFICATE OF SERVICE
                                                                        UNGARINO & ECKERT, LLC
I hereby certify that on February 8, 2007, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system
which will send a notice of electronic filing to all of the
following: John Houghtaling and Mike Pfister.
                                                                        /s/ William H. Eckert
                                                                        WILLIAM H. ECKERT (#18591)
            /s/ William H. Eckert
            ____________________________________
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